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		OSCN Found Document:RE RATE FOR TRANSCRIPTS PAID BY THE COURT FUND

					

				
  



				
					
					
						
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				RE RATE FOR TRANSCRIPTS PAID BY THE COURT FUND2020 OK 2Decided: 01/13/2020THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2020 OK 2, __ P.3d __

				

RE:&nbsp;Rate for Transcripts Paid by the Court Fund
ORDER
This Order shall supersede SCAD Order No. 85-3, issued by the Chief Justice on February 27, 1985. In any criminal case in which the defendant is indigent and the transcript costs are paid from Court Fund monies, the applicable transcript fee shall be the then-current statutory amount set forth in 20 O.S. §106.4, as may be amended from time to time, for an original transcript and two copies. The transcript rate, as of the date of this Order, is $3.50 per page. If any additional copies of the transcript, beyond the original and two, are purchased from the court reporter at public expense (by the Court Fund, District Attorney, or other State of Oklahoma entity), the applicable fee shall not exceed ten cents ($0.10) per page. This directive shall take effect on the 31st day of January 2020.
DONE BY ORDER OF THE OKLAHOMA SUPREME COURT IN CONFERENCE this 13TH DAY OF JANUARY, 2020.
/S/CHIEF JUSTICE
Gurich, C.J., Darby, V.C.J., Kauger, Winchester, Edmondson, Combs, Kane and Rowe, JJ., Concur;
Colbert, J., Absent.




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